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                            United States District Court
                                      for the
                            Southern District of Florida

  Foreo Inc., Plaintiff,                 )
                                         )
  v.                                     )
                                         )
  The Individuals, Corporations,         ) Civil Action No. 23-23631-Civ-Scola
  Limited Liability Companies,           )
  Partnerships, and Unincorporated       )
  Associations Identified on Schedule    )
  A, Defendants.                         )

                       Order on Default Judgment Procedure
          On February 1, 2024, the Clerk of the Court entered a Default against
  Defendants listed in Schedule A. In order to resolve this case justly and
  efficiently, the Court orders the Plaintiff to file one of the following two
  responses by February 15, 2024.
      1. Where there are multiple Defendants, but no possibility of inconsistent
  liability between Defendants (which, for example, could arise from allegations
  of joint and several liability where fewer than all of the defendants are in
  default), Plaintiff shall file a Motion for Default Judgment, consistent with
  Federal Rule of Civil Procedure 55(b). The Plaintiff must state in the Motion for
  Default Judgment that there are no allegations of joint and several liability, and
  set forth the basis why there is no possibility of inconsistent liability.
          The Motion for Default Judgment must include affidavits of any sum
  certain due from the Defendants, and any other supporting documentation
  necessary to determine Plaintiff’s measure of damages. The Motion must also be
  accompanied by (1) the necessary affidavit under the Servicemembers Civil
  Relief Act, 50 U.S.C. app. § 521(b), if applicable; and (2) a proposed order
  granting the Motion for Default Judgment; and entering final judgment.
  Pursuant to the CM/ECF Administrative Procedures, the proposed orders shall
  be submitted to the Court by e-mail in Word (.doc) format at
  scola@flsd.uscourts.gov. Plaintiff must send a copy of the Motion to Defendants’
  counsel or to the Defendants directly if they do not have counsel. In the
  certificate of service, Plaintiff shall indicate that notice was sent and the
  addresses where the notice was sent.
          If the Defendants fail to move to set aside the Clerk’s Default, or fail to
  otherwise respond to this lawsuit, on or before February 11, 2024, Default
  Final Judgment may be entered. This means that the Plaintiff may be able to
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  take the property or money of the Defendants, and/or obtain other relief
  against the Defendants.
      2. Where there are multiple Defendants and allegations of joint and several
  liability, and a possibility of inconsistent liability between Defendants, Plaintiff
  shall file a Notice of Joint Liability. See Frow v. De La Vega, 82 U.S. 552, 554
  (1872); 10A Charles Alan Wright and Arthur R. Miller, Federal Practice and
  Procedure § 2690 (3d ed. 1998) (citing Frow, 82 U.S. at 554); see also Gulf
  Coast Fans, Inc. v. Midwest Elecs. Imp., Inc., 740 F.2d 1499, 1512 (11th Cir.
  1984).
          The Notice of Joint Liability must briefly describe the allegations and
  advise the Court of the status of the other Defendants’ liability. Once liability is
  resolved as to all Defendants, Plaintiff may move for the entry of default
  judgment against the defaulting Defendants, as described in paragraph one,
  above, no later than fourteen days after the resolution of liability as to the
  non-defaulting Defendants.
          Plaintiff’s failure to file a Motion for Default Judgment or Notice of Joint
  Liability within the specified time will result in a dismissal without prejudice
  as to these Defendants.
          The Court directs the Plaintiff to email copies of this order to any
  Defendant who has not appeared, consistent with the Court’s order authorizing
  alternate service of process, and to submit a notice of compliance to the Court
  after the Plaintiff has done so.
        Done and ordered in Miami, Florida, on February 1, 2024.



                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge
